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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
                             Plaintiff,        )
                                               )
vs.                                            )      Case No. 04-CR-40021-02-MJR
                                               )
JAMONTE L. ALLISON,                            )
    (Inmate # 06292-025),                      )
                                               )
                             Defendant.        )

                                  ORDER
                    REGARDING MOTION TO REDUCE SENTENCE

REAGAN, District Judge:

              In September 2005, Jamonte L. Allison was sentenced in this Court (by the

Honorable James L. Foreman) to 240 months in prison on Count 1 of an indictment charging him

with conspiracy to distribute cocaine base (“crack”). On May 27, 2008, Defendant Allison filed

a pro se motion (Doc. 266) seeking to reduce his sentence under 18 U.S.C. 3582(c), based on

Amendment 706 to the United States Sentencing Guidelines which, in the wake of Kimbrough v.

United States, 552 U.S. 85 (2007), reduced the offense levels applicable to certain crack cocaine

offenses. On September 27, 2010, the Court ordered Allison to show cause why his motion

should not be denied, because he was ineligible for a reduction (Doc. 287). Allison’s response

primarily attacked his original sentence, and did not address the impediment to a reduction, the

statutory mandatory minimum sentence (see Doc 291).

              Following passage of the Fair Sentencing Act of 2010, Pub. L. No. 111-120, 124

Stat. 2372 (2010), the United States Sentencing Commission’s promulgated additional

amendments to the Sentencing Guidelines, reducing the criminal penalties for certain crack

cocaine offenses. On December 1, 2011, Defendant Allison filed a second pro se motion seeking



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to reduce his sentence (Doc. 326).

              By Orders dated December 2, 2011 and December 5, 2011 (Docs. 327, 328), this

Court appointed the Federal Public Defender’s Office to represent Defendant Allison. Attorney

Todd M. Schultz of the FPD’s Office formally entered his appearance on Allison’s behalf on

December 27, 2011 (Doc. 331).

              On January 30, 2012, Mr. Schultz moved to withdraw from the case (i.e., cease

his representation of Defendant on this motion), having “determined that the Defendant has no

meritorious basis for obtaining relief under 18 U.S.C. § 3582(c) and the retroactive amendment

to the crack cocaine sentencing guideline” (Doc. 338). A copy of the motion was provided to

Defendant by Mr. Schultz. The motion states as follows (Doc. 338, pp. 1-2):

              3. Undersigned counsel has since determined that the Defendant has no
              meritorious basis for obtaining relief under 18 U.S.C. § 3582(c) and the
              retroactive amendment to the crack cocaine sentencing guideline.

              4. On September 6, 2005, the Court sentenced the Defendant to a statutory
              mandatory minimum term of 240 months in prison. Because the
              Defendant received a statutory mandatory minimum sentence, his sentence
              cannot be further reduced by application of the 2011 retroactive
              amendment to the crack cocaine guideline. See United States v. Forman,
              553 F.3d 585, 588 (7th Cir. 2009).

              5. The Court has previously appointed the Federal Public Defender’s
              Office to represent the Defendant concerning the 2007 retroactive
              amendment to the crack cocaine guideline. See Doc. 268. On September
              27, 2010, a motion to withdraw was filed stating that the Defendant was
              ineligible for a reduction based upon the 2007 retroactive amendment to
              the crack cocaine guideline because he received a statutory mandatory
              minimum sentence. See Doc. 286. This earlier motion to withdraw is still
              pending.

              6. United States Probation Officer Fletcher has also concluded that the
              Defendant is ineligible for a reduction because he received a statutory
              mandatory minimum sentence.




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               Defendant Allison was given until February 15, 2012, to file a response and show

cause why the undersigned Judge should not grant attorney Schultz’s motion to withdraw (Doc.

338) and deny both of Allison’s pro se motions to reduce sentence (Doc. 266, 326). Allison has

not filed a response.

               The Court’s review of the record reveals that Allison’s sentencing range is not

changed by the retroactive amendments to the guidelines because he is subject to a 240 month

mandatory minimum term of imprisonment. See United States v. Forman, 553 F.3d 585, 588

(7th Cir. 2009). Therefore, Allison’s two motions for reduction of his sentence (Docs. 266, 326)

are both DENIED. Attorney Schultz’s motion for leave to withdraw as counsel of record for

Defendant Allison (Doc. 338) is GRANTED.

               IT IS SO ORDERED.


               DATED: February 16, 2012
                                                    s/ Michael J. Reagan
                                                    MICHAEL J. REAGAN
                                                    UNITED STATES DISTRICT JUDGE




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